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6
7                         IN THE UNITED STATES DISTRICT COURT
8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10     UNITED STATES OF AMERICA,             )   CASE NO. 15-189 GEB
                                             )
11                         Plaintiff,        )   STIPULATION AND ORDER
                                             )   CONTINUING STATUS CONFERENCE
12     v.                                    )
                                             )   Date:   August 3, 2018
13     JEREMY WARREN,                        )   Time:   9:00 a.m.
                                                 Judge: Hon. Garland E.
14                         Defendant.        )   Burrell, Jr.
                                             )
15                                           )
                                             )
16                                           )
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17                                           )
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18
19
20           Defendant Jeremy Warren, his undersigned counsel and
21    plaintiff, United States of America, hereby stipulate through           their
22    respective attorneys to continue the status conference previously           set
23    for June 29, 2018 to August 3, 2018 and that date is        available
24    with the Court.
25            Counsel has recently been appointed on this matter and is in the
              early stages of discovery review and investigation.


     The parties further agree that the above
                                        1
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     reason constitutes good cause to exclude the time until the August 3,
1    2018 status conference.        Time should be excluded pursuant to the
2    Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), for the
3    reasons stated above.
5
                                        Respectfully submitted
6
     Dated: June 27, 2018
 7                                 27   /s/ Shari Rusk
                                        Attorney for Defendant
 8                                 28
                                        Jeremy Warren
 9                                      /s/ Michael Beckwith
10                                      Assistant United States Attorney
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15    It is so ordered.

16    Dated:    June 28, 2018




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